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                     1 BOIES SCHILLER FLEXNER LLP
                       David K. Willingham (State Bar No. 198874)
                     2  dwillingham@bsfllp.com
                       725 South Figueroa Street, Floor 31
                     3 Los Angeles, California 90017-5524
                       Phone: (213) 629-9040
                     4 Fax: (213) 629-9022

                     5 Lee S. Wolosky (pro hac vice)       Amy L. Neuhardt (pro hac vice)
                        lwolosky@bsfllp.com                 aneuhardt@bsfllp.com
                     6 Robert J. Dwyer (pro hac vice)      1401 New York Avenue, NW
                        rdwyer@bsfllp.com                  Washington, DC 20005-2102
                     7 575 Lexington Ave., Floor 7         Phone: (202) 237-2727
                       New York, NY 10022-6138             Fax: (202) 237-6131
L L P




                     8 Phone: (212) 446-2300
                       Fax: (212) 446-2350
                     9
F L E X N E R




                         Counsel for Plaintiffs
                    10

                    11                  UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    12
S C H I L L E R




                    13 BROIDY CAPITAL MANAGEMENT               Case No. 18-cv-02421-JFW
                         LLC and ELLIOTT BROIDY,
                    14                                         APPLICATION FOR LEAVE TO
                                                               FILE UNDER SEAL EXHIBITS TO
                    15                Plaintiffs,              THE JOINT STIPULATION
                                                               PURSUANT TO LOCAL RULE 37-2
B O I E S




                    16                                         RE MOTION CHALLENGING
                               v.                              DEFENDANT QATAR’S
                    17                                         DESIGNATIONS OF MATERIAL
                                                               UNDER THE PROTECTIVE
                    18 STATE OF QATAR, STONINGTON              ORDER AND REFERENCES TO
                         STRATEGIES LLC, NICOLAS D.            THOSE EXHIBITS
                    19 MUZIN, GLOBAL RISK ADVISORS
                                                               [Declaration of Lee S. Wolosky and
                    20 LLC, KEVIN CHALKER, DAVID               Exhibits; and [Proposed] Order filed
                         MARK POWELL, MOHAMMED BIN             concurrently herewith]
                    21 HAMAD BIN KHALIFA AL THANI,
                                                               The Honorable CHARLES F. EICK
                    22 AHMED AL-RUMAIHI, and DOES 1-
                         10,                                   Hearing Date: November 2, 2018
                    23                                         Time: 9:30 a.m.
                    24                Defendants.

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                                                                                   Case No. 18-cv-02421-JFW-E
                                                                            APPLICATION FOR LEAVE TO SEAL
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                     1          Pursuant to Local Rule 79-5.2.2(b), Broidy Capital Management LLC and
                     2 Elliott Broidy (“Plaintiffs”) herein file this application to seal (1) exhibits 3, 5-6, and

                     3 10-18 to the Joint Stipulation Pursuant to Local Rule 37-2 Regarding the Motion

                     4 Challenging Defendant the State of Qatar’s (“Qatar’s”) Designations of Material

                     5 Under the Protective Order, (2) references to the content of those exhibits in the

                     6 Joint Stipulation, and (3) portions of certain communications between Plaintiffs and

                     7 Qatar.
L L P




                     8          In a September 11, 2018 letter to Plaintiffs’ counsel, Qatar designated thirty
                     9 pages of documents of third-party discovery materials as Highly Confidential –
F L E X N E R




                    10 Attorneys Eyes Only. The documents designated involve communications among

                    11 four individuals: Defendant Nicolas Muzin, Joseph Allaham, Jamal Benomar, and

                    12 Ahmed Al-Rumaihi. Qatar also designated as Confidential or Highly Confidential –
S C H I L L E R




                    13 Attorneys’ Eyes Only portions of the transcript of the deposition of Joseph Allaham.

                    14 Finally, Qatar designated portions of its communications with Plaintiffs as

                    15 Confidential or Highly Confidential –Attorneys’ Eyes Only.
B O I E S




                    16          As set forth in their portion of the Joint Stipulation Pursuant to Local Rule 37-
                    17 2 Regarding the Motion Challenging Defendant Qatar’s Designations of Material

                    18 Under the Protective Order, Plaintiffs maintain that all of Qatar’s designations are

                    19 improper and fully brief their objections to those designations in the Joint

                    20 Stipulation. Under Local Rule 79-5.2.2(b), a party objecting to designations

                    21 pursuant to a protective order must nevertheless file an application to seal those

                    22 designated documents. Pursuant to Local Rule 79-5.2.2(b)(i), Qatar bears the

                    23 burden of “establishing that all or part of the designated material is sealable, by

                    24 showing good cause or demonstrating compelling reasons why the strong

                    25 presumption of public access in civil cases should be overcome.”

                    26          Defendant Qatar has requested that the following materials be filed under seal:
                    27

                    28
                                                                 1                         Case No. 18-cv-02421-JFW-E
                                                                                    APPLICATION FOR LEAVE TO SEAL
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                     1        Exhibit           Document             Portions to be          Qatar
                     2                                                    Sealed           Designation
                         Ex. A               Joint Stipulation      Highlighted          N/A
                     3                       Pursuant to Local      Portions
                     4                       Rule 37-2
                                             Regarding the
                     5                       Motion
                     6                       Challenging
                                             Defendant Qatar’s
                     7                       Designations of
L L P




                     8                       Material Under
                                             the Protective
                     9                       Order
F L E X N E R




                    10 Ex. 3 to the Joint    Plaintiffs’       Highlighted               Confidential and
                         Stipulation         September 8,      Portions                  Highly
                    11                       2018 Letter                                 Confidential –
                    12                                                                   Attorneys’ Eyes
S C H I L L E R




                                                                                         Only
                    13 Ex. 5 to the Joint    Plaintiffs’            Highlighted          Highly
                    14 Stipulation           September 13,          Portions             Confidential –
                                             2018 Email                                  Attorneys’ Eyes
                    15                                                                   Only
B O I E S




                    16 Ex. 6 to the Joint    Qatar’s                Highlighted          Highly
                         Stipulation         September 14,          Portions             Confidential –
                    17
                                             2018 Email                                  Attorneys’ Eyes
                    18                                                                   Only
                         Ex. 10 to the       Email from Nick        Entirety of          Highly
                    19
                         Joint Stipulation   Muzin Containing       Exhibit              Confidential –
                    20                       Draft Proposed                              Attorneys’ Eyes
                                             Lobbying                                    Only
                    21
                                             Strategy
                    22 Ex. 11 to the         Email from Nick        Entirety of          Highly
                         Joint Stipulation   Muzin Containing       Exhibit              Confidential –
                    23
                                             Draft Proposed                              Attorneys’ Eyes
                    24                       Lobbying                                    Only
                                             Strategy
                    25
                         Ex. 12 to the       Email from Nick        Entirety of          Highly
                    26 Joint Stipulation     Muzin Containing       Exhibit              Confidential –
                    27
                                             Draft Proposed                              Attorneys’ Eyes
                                             Lobbying                                    Only
                    28                       Strategy
                                                                2                            Case No. 18-cv-02421-JFW-E
                                                                                      APPLICATION FOR LEAVE TO SEAL
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                     1 Ex. 13 to the         Email from Nick         Entirety of      Highly
                     2 Joint Stipulation     Muzin Containing        Exhibit          Confidential –
                                             Proposed                                 Attorneys’ Eyes
                     3                       Lobbying                                 Only
                     4                       Strategy
                         Ex. 14 to the       WhatsApp                Entirety of      Highly
                     5 Joint Stipulation     Messages                Exhibit          Confidential –
                     6                       Amongst Joseph                           Attorneys’ Eyes
                                             Allaham, Jamal                           Only
                     7                       Benomar, and
L L P




                     8                       Ahmed Al-
                                             Rumaihi
                     9 Ex. 15 to the
F L E X N E R




                                             WhatsApp                Highlighted      Highly
                    10 Joint Stipulation     Messages                Portions         Confidential –
                                             Amongst Nick                             Attorneys’ Eyes
                    11                       Muzin, Joseph                            Only
                    12                       Allaham, and
S C H I L L E R




                                             Jamal Benomar
                    13 Ex. 16 to the         WhatsApp                Entirety of      Highly
                    14 Joint Stipulation     Messages                Exhibit          Confidential –
                                             Amongst Nick                             Attorneys’ Eyes
                    15                       Muzin, Joseph                            Only
B O I E S




                    16                       Allaham, and
                                             Jamal Benomar
                    17
                       Ex. 17 to the         Bank Records            Entirety of      Highly
                    18 Joint Stipulation                             Exhibit          Confidential –
                                                                                      Attorneys’ Eyes
                    19
                                                                                      Only
                    20 Ex. 18 to the         Transcript of the       Highlighted      Confidential and
                         Joint Stipulation   Deposition of           Portions         Highly
                    21
                                             Joseph Allaham                           Confidential –
                    22                                                                Attorneys’ Eyes
                                                                                      Only
                    23

                    24
                                                          Respectfully submitted,
                    25
                         Dated: October 1, 2018           BOIES SCHILLER FLEXNER LLP
                    26                                    By: /s/ Lee S. Wolosky
                    27                                           LEE S. WOLOSKY
                                                                 Counsel for Plaintiffs
                    28
                                                                 3                        Case No. 18-cv-02421-JFW-E
                                                                                   APPLICATION FOR LEAVE TO SEAL
